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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                                Norfolk Division



 GRADILLAS COURT REPORTERS, INC.,

              Plaintiff,

 V.                                          CIVIL ACTION NO. 2:17cv597


 CHERRY BEKAERT, LLP, et al.,

             Defendants.



                                  FINAL ORDER


       This matter comes before the court on the parties' Objections

 to the United States Magistrate Judge's Report and Recommendation

 C'R&R"). Cherry Bekaert, LLP, and Sara Crabtree ('"Defendants")

 filed a Motion for Summary Judgment ("Motion") and accompanying

 Memorandum     in   Support,    on   July 17,     2018.   EOF    Nos. 62, 63.

 Gradillas Court Reporters, Inc. ("Plaintiff") filed a Memorandum

 in Opposition on July 31, 2018, EOF No. 64, and Defendants filed

 a Reply on August 6, 2018, EOF No. 70. On August 7, 2018, this

 court referred the Motion to United States Magistrate Judge Robert

 J. Krask, pursuant to the provisions of 28 U.S.C. § 636(b)(1)(B)

 and Federal Rule of Civil Procedure 72(b), to conduct hearings,

 including evidentiary hearings, if necessary, and to submit to the

 undersigned     district   judge     proposed     findings      of   fact,   if

 applicable, and recommendations for disposition of the Motion. ECF

 No. 71.
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         A hearing was held on October 16, 2018, and the Magistrate

 Judge filed the R&R on Defendants' Motion on November 6, 2018. EOF

 No. 89. The R&R recommends that Defendants' Motion be granted. R&R

 at 34. The parties were advised of their right to file written

 objections      to    the       findings      and    recommendations     made     by   the

 Magistrate     Judge.        Id.    at 34-35.       Plaintiff filed      Objections     on

 November 20,         2018.      EOF    No. 94,      and     Defendants   responded      to

 Plaintiff's Objections on December 4, 2018, EOF No. 97. Defendants

 filed an Objection on November 20, 2018, EOF No. 95, and Plaintiff

 responded      to    Defendants'        Objection          on   December 4,    2018,   EOF

 No. 96.


         Pursuant     to    Rule       72(b)   of     the    Federal   Rules     of   Civil

 Procedure, the court, having reviewed the record in its entirety,

 shall make a ^ novo determination of those portions of the R&R to

 which the parties have specifically objected. Fed. R. Civ. P.

 72(b). The court may accept, reject or modify, in whole or in part,

 the recommendation of the magistrate judge, or recommit the matter

 to him with instructions. 28 U.S.C. § 636(b)(1).

         The court, having examined the parties' Objections to the

 R&R, and having made ^ novo findings with respect thereto, ADOPTS

 AND APPROVES IN FULL the findings and recommendations set forth in

 the R&R of the United States Magistrate Judge, filed on November 6,

 2018.    ECF    No.       89.      Accordingly,       Plaintiff's      Objections      are

 OVERRULED,     Defendants'          Objection       is OVERRULED,      and    Defendants'
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 Motion for Summary Judgment is GRANTED. Because the court concludes

 that    Defendants    are   entitled    to    summary       judgment,       Defendants'

 Motion to Strike Expert Reports of Wilson, Ritter, and Schulze,

 and to Preclude their Testimony at Trial, ECF No. 85, is DENIED AS

 MOOT.   Plaintiff's    suit   is   DISMISSED        WITH     PREJUDICE      as   to   all


 counts. The Clerk shall enter final judgment in favor of Defendants

 in accordance with this Final Order.


        The Clerk is DIRECTED to send a copy of this Order to counsel

 for all parties.

        IT IS SO ORDERED.
                                                            M
                                              Rebecca Beach Smith
                                              United States District Judge
                                        REBECCA BEACH SMITH
                                        DISTRICT     JUDGE




 December       2018
